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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

DANIEL W. RUDD,

       Plaintiff,                                  Case No. 1:18-cv-124

v.                                                 HON. GORDON J. QUIST/KENT
                                                   MAG. JUDGE RAY KENT
CITY OF NORTON SHORES,
MAYOR GARY NELUND, MARK MEYERS,
DANIEL SHAW, MATTHEW RHYNDRESS,
MICHAEL WASILEWSKI, JON GALE,
CHRIS MCINTIRE, MELISSA MEYERS,
MICHELLE MCLEAN, JOEL BAAR,
BOLHOUSE, BAAR & HOFSTEE PC.,
WILLIAM HUGHES PLLC, DOUGLAS
HUGHES,

        Defendants.
____________________________________________________________________
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             NORTON SHORES DEFENDANTS’ REPLY BRIEF IN SUPPORT OF
                   MOTION FOR JUDGMENT ON THE PLEADINGS

I.     INTRODUCTION.

       The Norton Shores Defendants moved for judgment on the pleadings. In their brief

in support, Norton Shores Defendants were specific as to the facts alleged by Plaintiff in

support of his conspiracy theory. In response, Plaintiff proceeds upon nothing more than

conclusory rhetoric and an illogical contortion of the “facts.” It is respectfully submitted

Plaintiff has failed in his attempt to further prolong this lawsuit. The Norton Shores

Defendants’ submit their motion for judgment on the pleadings must be granted.

II.    LEGAL STANDARDS.

       A motion for judgment on the pleadings can be filed after the pleadings are closed.

“After the pleadings are closed – but early enough not to delay trial – a party may move for

judgment on the pleadings.” Fed. R. Civ. P. 12(c). In evaluating a motion for judgment on

the pleadings the Court is to take, as true, “all well-pleaded material allegations.” Hindel v.

Husted, 875 F.3d 344, 346 (6th Cir. 2017). The reviewing Court is not to accept as true

Plaintiff’s legal conclusions or unwarranted factual instances. Commercial Money Center,

Inc. v. Illinois Union Ins. Co., 508 F.3d 327, 336 (6th Cir. 2007)(citing Gregory v. Shelby

County, 220 F.3d 433, 446 (6th Cir. 2000). Norton Shores Defendants’ motion for judgment

on pleadings is to be granted if they are clearly entitled to judgment as a matter of law.

Hindel, supra at 346.

       A motion for judgment on the pleadings is just that – a review of the pleadings such

as Plaintiff’s complaint. Matters outside the pleadings are not to be considered. Otherwise,

it would transform it into a motion for summary judgment. Franklin v. Frid, 7 F. Supp. 2d,

920, 922 (W.D. Mich. 1998). To survive a motion for judgment on the pleadings, Plaintiff’s
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complaint “must contain direct or inferential allegations respecting all the material

elements under some viable legal theory.” Hindel, supra at 346-47. See also, Commercial

Money Center, supra, 508 F.3d at 336 (citing Mezibov v. Allen, 411 F.3d 712, 716 (6th Cir.

2005). Hence, Plaintiff’s complaint must contain sufficient factual matter, not legal

conclusions or unwarranted factual inferences, to “state a claim to relief that is plausible on

its face. A claim has facial plausibility when the plaintiff pleads factual content that allows

the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Hindel, supra at 347 (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).

Accordingly, it is to Plaintiff’s complaint that Defendants once again proceed.

III.   PLAINTIFF’S COMPLAINT.

       As cogently noted by this Court in its August 8, 2018 Opinion, Plaintiff alleges a

“wide-ranging conspiracy to violate (plaintiff’s) federal constitutional rights.” ECF No. 50,

PageID 320. This Court also specifically noted Count II of Plaintiff’s complaint is for a

conspiracy to violate his constitutional rights. ECF No. 50, PageID 320. This Court also

noted Plaintiff couched all of his §1983 claims – “as conspiracy claims.” ECF. No. 50, PageID

328.

       In conclusory fashion, Plaintiff alleged the Norton Shores Defendants conspired

amongst each other. Plaintiff similarly alleged attorney Melissa Meyers conspired with the

Norton Shores Defendants to “injure Plaintiff,” and she was married to the Norton Shores

City Manager. Interestingly, Plaintiff alleged in 2014 attorney Michelle McLean substituted

in place of Myers as the attorney opposing Plaintiff in his custody proceedings. ECF No. 1,

PageID 4, ¶14. Plaintiff alleged the actions by Norton Shores Defendants were to not

investigate his complaints, to testify against Plaintiff in the hearings, and to appear as


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witnesses against Plaintiff. See ECF No. 1, PageID 6, ¶26; PageID 7, ¶29; PageID 14, ¶56;

PageID 21, ¶97; PageID 22, ¶¶101-102.

       Count II is the only conspiracy claim remaining. It is composed of only three

paragraphs. The first paragraph realleges and reincorporates the previous allegations.

Plaintiff then alleges, in the most conclusory of fashions, as follows:

       118.    All defendant’s participated in the conspiracy to retaliate against
               plaintiff with the adverse actions described in this complaint. These
               actions were motivated, at least in part, by plaintiff’s persistent efforts
               to seek assistance and the redress of grievances by the government.

       119.    Plaintiff brings this count against all defendants by way of retaliatory
               acts or participation in the conspiracy to retaliate against plaintiff.

               See ECF No. 1, PageID 26 ¶¶118-119.

       It is upon these allegations that Norton Shores Defendants’ base their motion for

judgment on the pleadings.

IV.    ARGUMENT AND ANALYSIS.

       A.      Plaintiff Has Not Stated An Independent First Amendment Claim.

       In Plaintiff’s brief in opposition, he asserts he has a claim for retaliation against the

Norton Shores Defendants independent of any conspiracy. See ECF No. 72, PageID 488 (“As

it pertains to direct acts of retaliation by the City, Plaintiff need not establish a conspiracy.”)

This revisionist pleading by Plaintiff must be rejected by this Court as nothing but empty

rhetoric. Plaintiff is the master of his complaint. In Count II, Plaintiff specifically alleged it

was all Defendants’ participation in the “conspiracy” to retaliate against him that is the

cause of action. This reality was clearly set forth by this Court in its August 18, 2018

Opinion. ECF No. 50, PageID 320;328. The pleadings are closed. Plaintiff cannot now

attempt to assert his complaint is something other than what it clearly is – a 29-page


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pleading alleging various and sundry “facts,” conclusions, and illogical rhetoric of some vast

conspiracy between Norton Shores officials, and private attorneys. Plaintiff’s attempt at a

180° turn on his theory of liability must not be countenance by this Court.

       B.     Plaintiff Fails to State a Claim For Conspiracy.

       As noted by this Court, a civil conspiracy pursuant to 42 U.S.C. §1983 is an

“agreement between two or more persons to injure another by unlawful action.” Bazzi v.

City of Dearborn, 658 F.3d 598, 602 (6th Cir. 2011). “It is well-settled that conspiracy claims

must be pled with some degree of specificity and that vague and conclusory allegations

unsupported by material facts will not be sufficient to state such a claim under §1983.”

Spadafore v. Gardner, 330 F.3d 849, 854 (6th Cir. 2003). In order to have pled a conspiracy

claim Plaintiff must have sufficiently alleged facts, and made the allegation “that there was

a single plan, that the alleged coconspirators shared in the general conspiratorial objective,

and that an overt act was committed in furtherance of the conspiracy.” Heyne v. Metro

Nashville Pub. Sch., 655 F.3d 556, 562 (6th Cir. 2011). It was incumbent upon Plaintiff to

allege facts sufficient to establish all the elements of a conspiracy. Norton Shores

Defendants respectfully submit Plaintiff failed to plead any facts which remotely suggest

there was ever a single plan between the alleged co-conspirators, or that they all shared in

a general conspiratorial objective.

       Indeed, the “gossamer thread” in Plaintiff’s conspiracy theory, as noted by Norton

Shores Defendants in their initial brief, was Melissa Meyer. Plaintiff draws a whole host of

illogical conclusions based upon the happenstance she is married to the Norton Shores City

Manager. The illogical nature of these allegations and conclusions is most graphically

demonstrated by Plaintiff’s allegation that as of 2014, Melissa Meyers was no longer the


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attorney representing Plaintiff’s ex-wife in the family law dispute. As Plaintiff clearly

alleges, Michelle McLean substituted in place of Meyers in 2014. ECF No. 1, PageID 4, ¶14.

         Plaintiff also relies extensively on communications between Norton Shores

employees including the mayor, two chiefs of police, the city manager, the city attorney,

and two police officers. As such, Plaintiff is alleging the Norton Shores Defendants were

conspiring amongst one another to violate his federal constitutional rights. The problem for

Plaintiff with this type of allegation is such a claim is barred by the “Intra-Corporate

Conspiracy Doctrine.” Franklin v Frid, 7 F. Supp. 2d 920, 926 (W.D. Mich. 1998). This well

settled principle of law mandates a “corporation cannot conspire with its own agents or

employees.” Id. (citing Doherty v. American Motors Corp., 729 F.2d 334, 339 (6th Cir. 1984).

The Intra-Corporate Conspiracy Doctrine applies to claims asserted against municipal or

governmental entities. Hull v. Cuyahoga Valley Joint Voc. Sch. Dist. Bd. of Educ., 926 F.2d

505, 509-10 (6th Cir. 1991). Plaintiff cannot rely, as he attempts to in his complaint, on

alleged communications amongst and between employees or agents of the City of Norton

Shores in order to attempt to establish some type of conspiracy.

         Moreover, Plaintiff attempts to rely on allegations the Norton Shores police did not

investigate, properly or otherwise, as evidence of the conspiracy. As noted by this Court in

its previous opinion, “a citizen has no constitutional right to have the police investigate or

prosecute criminal activity.” Flagg v. City of Detroit, 447 F.Supp.2d 824, 829 (E.D. Mich.

2006).

         In similar fashion, Plaintiff cannot rely on the fact Norton Shores police testified

during his family law proceedings, or Norton Shores employees or agents appeared at

hearings in order to be called as witnesses. As already concluded by this Court, “such


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conduct – merely showing up to a hearing to testify – would not, in this Court’s judgment,

‘deter a person of ordinary firmness from exercising protected conduct.’” Fritz v. Charter

Twp. of Comstock, 592 F.3d 718, 724 (6th Cir. 2010).

       This Court has already determined many of the issues against Plaintiff in the course

of its August 8, 2018 Opinion. It is respectfully submitted that upon a discerning review of

Plaintiff’s complaint asserted against the Norton Shores Defendants, this Court must grant

the motion for judgment on the pleadings, pursuant to Fed. R. Civ. P. 12(c).

V.     CONCLUSION.

       Plaintiff filed his complaint nearly nine months ago. He repetitively has asserted he

has been working on an amended complaint to correct the deficiencies. The chicken has

long since flown that coop. Plaintiff has proceeded on a patchwork quilt of some facts, tied

together with illogical inferences and unsupported legal conclusions, of some type of

conspiracy. At most, the facts alleged by Plaintiff reflect parallel conduct which is not

consistent with an agreement amongst all the Defendants to violate Plaintiff’s federal

constitutional rights. The “facts” upon which Plaintiff relies are not sufficient to state a

claim because they are “not only compatible with, but indeed [are] more likely explained by

lawful, unchoreographed . . . behavior.” Iqbal, supra at 680. City of Norton Shores

Defendants respectfully submit the time has come for this Court to permanently put to rest

Plaintiff’s complaint, which too long has been pending before this Court.




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Dated: October 30, 2018            Respectfully submitted,

                                   PLUNKETT COONEY



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